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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  APPLE’S REQUEST TO FILE A
           20       a Delaware corporation,                       THREE-PAGE REPLY REGARDING
                                                                  PLAINTIFFS’ RESPONSIVE BRIEF
           21                           Plaintiffs,               IN SUPPORT OF THEIR “NOTICE
                                                                  OF CONSENT TO NOVEMBER 5,
           22             v.                                      2024 BENCH TRIAL” (DKT. 2076)
           23       APPLE INC.,
                    a California corporation,
           24                                                     Pre-Trial Conference: Oct. 28, 2024
                                        Defendant.                Trial: Nov. 5, 2024
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and Dorr LLP
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                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1             Apple respectfully requests leave to file a three-page reply brief responding to the
             2      myriad new arguments raised in Plaintiffs’ eleven-page brief in support of their
             3      unreasoned request for a bench trial. Compare Dkt. 2076 (notice) with Dkt. 2083 (brief).
             4             On Wednesday, August 14, Plaintiffs’ counsel emailed asking that Apple
             5      “agree[]” to convert the long-scheduled November 5, 2024 jury trial to a bench trial. See
             6      Dkt. 2083-2 at 2. Plaintiffs did not provide any explanation or law supporting their
             7      request in that email exchange, id. or in their subsequent “Notice” filed on August 22,
             8      2024, Dkt. 2076. Plaintiffs’ August 26, 2024 brief thus raises a number of new
             9      arguments, as it is the first time Plaintiffs have provided the substantive basis for their
           10       position. Plaintiffs’ own authority, moreover, establishes that courts normally require a
           11       party seeking to withdraw a jury request to file a formal motion. See, e.g., Dkt. 2083 at
           12       9 (relying on authority involving “the timing of motions to strike a jury demand”); see
           13       also Fed. R. Civ. P. 39(a)(2).
           14              Under these circumstances, Apple respectfully submits that a short reply brief is
           15       appropriate. See Dkts. 1921, 1922 (order granting Apple’s request to file a two-page
           16       reply in a similar procedural posture). Apple’s proposed reply is attached as Exhibit A
           17       to this request.
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and Dorr LLP
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             1      Dated: August 27, 2024                Respectfully submitted,
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           16                                                 Mark D. Selwyn

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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 213 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1
             5               complies with the word limit set by court order dated [date].
             6
             7      Dated: August 27, 2024                Respectfully submitted,
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                             APPLE’S REQUEST TO FILE REPLY RE: PLAINTIFFS’ RESPONSE ISO “NOTICE OF CONSENT”
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and Dorr LLP
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